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AO l99A (Rev. 06/19) Order Setting Conditions of Release                                                         Pagelof   3   Pug.,



                                       Uuren Srarps Drsrrucr CoURT
                                                                     for the
                                                           Eastern District of California


                    United States of America
                                                                         )
                                                                         )
                     OMAR VAYAS DURAN                                    )        Case No. 5:21-mj-00033-JLT
                                                                         )
                              De.fendant                                 )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(   l) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorizedby 34 U.S.C. g 40702.
(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
        any change ofresidence or telephone number.

(4) The defendant must appear in court as required and, ifconvicted, must surrender as directed to serve a sentence that
        the court may impose.

        The defendant must appear at              United States District Court, Eastern District of California
                                                                                            Place
        before Magistrate Judge Jennifer L. Thurston


        on                                                          7116120212:30 pm
                                                                       Date and Time


        Ifblank, defendant will be notified ofnext appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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AO l99C (Rev. 09/08- EDCA [Fresno]) Advice olPenalties                                                                 Page 3   of 3   Pog",

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your affest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( I ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                                                                                                                       - you will be fined
             not more than $250,000 or imprisoned for not more than l0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) amisdemeanor- youwill befinednotmorethan$l00,000orimprisonednotmorethanoneyear,orboth.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture ofany bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




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                                               Directions to the United States Marshal

( E I fne defendant is ORDERED released after processing.




Date:    7/8/21
                                                                                   J udi c i al Ofi ce r's S i gna I u,' e


                                                         Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                       Printed nanrc and title




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